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TO: THE UNITED STATES DISTRICT COURT ‘i
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FOR THE EASTERN DISTRICT OF WISCONSIN én 2 3y
MILWAUKEE DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,

v. Case No. 2:22-cv-00621-PP

)
)
Mark Peters, )
and Rosemary Peters, )

)

Respondents.
1. Regarding: ‘Personal Jurisdiction Challenge’ upon Plaintiff, with Request for Full

Written Findings of Fact and Conclusions of Law.

2. Pursuant To: Personal jurisdiction in the federal courts is governed by rule 4 of the
Federal Rules of Civil Procedure.

3. NOTICE- This document can not be used to create any form of jurisdiction over the
Respondents.

4, NOTICE- Court is to take judicial notice of the evidence of law herein incorporated.

5. NOTICE - Pursuant to - Federal Rules of Civil Procedure » TITLE VI. TRIALS > Rule 52
(1),(3).(4), (5),(6). Respondents now Request Full Written Findings of Fact and
Conclusions of Law, from the administrator/judge on all determinations, orders, or
judgment, associated with this ‘Personal Jurisdiction Challenge’.

6. NOTICE — The court is to take the attached affidavit as evidence before the court.

7. NOTICE - This challenge is to be without oral arguments and request the Plaintiff email
what it/they relies upon as evidence of personal jurisdiction for each individual
respondent prior to the hearing date as court rules require.

&. § rting Evidence of Law:
9. “A plaintiff must plead and prove the jurisdictional facts, the facts which show that

the court has jurisdiction of the subject matter of the action.” Paulsen v. Paulsen, 658
N.W.2d 49, Neb. App.,2003

10. “Once jurisdiction is challenged, the party cannot proceed when it clearly appears that
the court lacks jurisdiction, the court has no authority to reach merits, but rather,
should dismiss the action.” Melo v. US 505 F2d 1026

11. “Complaint must charge all that is essential to constitute offense.” Smith v. State, 21
Neb. 552, 32 N.W. 594 (1887). Personal, and specific territorial, jurisdiction must be
charged and evidence when challenged. (What evidence does the moving party (not the

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judge) possess, for the record, that you said, did (contact), or signed (contract) to become
a ‘person’ subject to the US court.)

12. The State of New Jersey has an interest in adjudicating fraudulent misrepresentations
occurring within its boundaries. See Carteret Sav. Bank, FA v. Shushan, 954 F.2d 141,
150 (3d Cir. 1992). However, the plaintiff must actually be damaged in the State of New
Jersey to warrant personal jurisdiction. See id. at 151.

13. The signed, Mark Peters, and Rosemary Peters, now, challenge the Plaintiff to prove, on
the official record, evidence of personal jurisdiction over us, as to what we said, did
(contact), or signed (contract) to become a 'person' subject to this captioned U.S. Court.
SEE Affidavit below.

14. Therefore, upon the Plaintiff failure to evidence personal jurisdiction, as challenged, the
court has a duty to dismiss for it’s lack of personal jurisdiction which creates a general
jurisdiction want (subject matter jurisdiction want). This case must be dismissed, as a
matter of law, forthwith.

Respectfully submitted;

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— Affidavit —

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1. That this sworn statement is stated as to be germane to the captioned case, and all times
associated as to the Plaintiff's Complaint.

1.1. That ‘UNITED STATES OF AMERICA’, ‘United States’, and ‘The United States of
America’ is of the same in this affidavit.

2. That we, Mark Peters, and Rosemary Peters, identified as Affiants hereinafter, states as
follows:

3. Affiants state that Affiants have no evidence that Affiants have elected to become a United
States citizen.

4. Affiant states that there is no evidence that Affiants have elected to become a United States
citizen.

5. Affiants state that Affiants do not, did not, and have not, resided in, or was a resident, in land
of the United States of America, or in the ‘judicial district’ of ‘THE EASTERN DISTRICT OF
WISCONSIN’.

6. Affiants state that Affiants do not, did not, and have not, done business, or had income, or
revenue, in-ternally in land of ‘United States of America’, or in the ‘judicial district’ of ‘THE
EASTERN DISTRICT OF WISCONSIN’.

7. Affiants state that Affiants have, or ever had, any contract with ‘United States of America’, the
Plaintiff.

8. Affiants state that Affiants have never been a resident in Racine County, Wisconsin, within
THE EASTERN DISTRICT OF WISCONSIN, as associated with the captioned court.

Evidence of Law - Title 1 of the United States Code is General Provisions.
Section 2 of that title defines county: “The word “county” includes a parish, or
any other equivalent subdivision of a State or Territory of the United States.”

U.S. Code » Title 1 » Chapter 1 > § 2

The word “county” includes a parish, or any other equivalent subdivision of a
State or Territory of the United States.

(July 30, 1947, ch. 388, 61 Stat. 633.)

9. Affiants state that Affiants have no evidence of ever having residency sufficient to qualify for
a ‘State Marrage License’, as such are associated with United States of America.

10. Affiants state that Affiants are of one flesh as such is joined in - [24] “Therefore a man leaves

his father and his mother and cleaves to his wife, and they become one flesh. Genesis 2:24 -
Bible, Revised Standard Version, in common law, ecclesiastical/church jurisdciction marriage.

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NOTICE - No sworn statement in this affidavit shall be diminished by any other statement ~~ ¢
11. Affiants state that Affiants mailing to the IRS have all been done in error, all under fear, and
threat of prosecution, from variouse IRS agents over all years of all communications with the

IRS.

12. Affiants states that Affinats have never received formal notice, as a matter of law, from the
‘Commissioner Internal Revenue’ as to any duty to ever make a income return, or to keep any
revenue records. Affiants now ask Plaintiff to provide all authorizations, or notices, from the
Commissioner Internal Revenue, or from any subsequent authorized officer, or agent, as to the
same, and let this be notice that none have been presented to Affiants as of this date.

13. Affiants reserve their right to be formally noticed if such authorization is operational as a
matter of written law.

14. Notice that Affiants reserve Affiants rights to be billed and to have opportunity as to all true
billings from the Plaintiff in the ‘Money of Account’ dollar/coin, as identified in:

i. — Article 1, Section 10 of ‘Constitution for the United States of America’ expressly mandated:
"No State shall... make any Thing but gold and silver Coin a tender in payment of Debts".

ii. — Coinage Act of 1792, Act passed by the US Congress Establishing a National Currency,
Congress declared and defined the term "dollar" as coin consisting of gold or silver...

iii. — United States Code, Title 12, Section 152, states: “Lawful money shall be construed to
mean gold or silver coin of the United States.”

Mark Peters, and Rosemary Peters, declare under penalty of perjury under the laws of the United
States of America that the foregoing Affidavit is true and correct. Executed on _b” day of the
E-chnggmonth of 2023, consisting of 3 page. Jurat: As sworn to before the below signed Notary.
Oath: Mark Peters, and Rosemary Peters, solemnly swear that the contents of the above Affidawit

as subscribed is correct and true

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z a 4 Affiant — Mark Peters
3 JACKIE A. s
3 FONK - :
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Affiant — Rosentdry Peters
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County of Kaw.

Personally appeared before me the undersigned, an officer authorized to administer oaths, Mark
Peters, and Rosemary Peters, with valid identification, and/or personally known to me, who first

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being duly sworn, deposes and says that the forgoing, page, instrument was subscribed and
swom before me, this ¥e™ day of _/y4wa-y _ 2023.

Evidence of Law: MORRIS V NATIONAL CASH REGISTER, & GROUP V FINLETTER
Defendant is likely to be the only individual, now or in the future, who is willing and able to
place a sworn affidavit affirming the herein disclosed facts under penalties of perjury, into the
record of this case and as such, in absence of sworn counter-affidavit signed under the
penalties of perjury regarding these same facts, laws, case law and evidence, Defendant should
be the only prevailing party. Morris v National Cash Register, 44 S.W. 2D 433, clearly states at
point #4 that “uncontested allegations in affidavit must be accepted as true.”, and the Federal
case of Group v Finletter, 108 F. Supp. 327 states, “Allegations in affidavit in support of motion
must be considered as true in absence of counter-affidavit.”

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PROOF of SERVICE

I hereby certify that on February 2/), 2023, a true and correct copy of the attached ‘Notice of
Hearing’ and ‘Personal Jurisdiction Challenge’ (4 pages) was filed with the Court via mailing,
emailed to Elizabelk @. Kiel’ _, and mailed to:

RICHARD G. FROHLING United States Attorney DAVID A. HUBBERT Deputy Assistant
Attorney General /s/ Elizabeth A. Kirby ELIZABETH A. KIRBY # 24104199 (TX)

Notice of Hearing
The above motion is set for hearing on/at:___——_s a.m. p.m.
at the ‘Eastern District of Wisconsin United States District Court’,
located at: United States Federal Building and Courthouse 517 E. Wisconsin Ave. Rm. 362.

Mark Peters

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